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 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00075-LJO

12                                Plaintiff,            MOTION TO DISMISS INDICTMENT; ORDER
                                                        [FED. R. CRIM. PROC. 48(a)]
13                          v.

14   SHEENA TAYLOR,

15                               Defendant.

16

17          Comes now the United States, by and through its attorneys of record, MCGREGOR W. SCOTT,

18 United States Attorney, and LAUREL J. MONTOYA, Assistant U.S. Attorney, and request leave of the

19 Court to dismiss the Indictment in this case as to the above-named defendant in the interest of justice

20 pursuant to the plea agreement in 1:18-cr-00076.

21

22    Dated: October 23, 2019                               MCGREGOR W. SCOTT
                                                            United States Attorney
23

24                                                    By: /s/ LAUREL J. MONTOYA
                                                          LAUREL J. MONTOYA
25                                                        Assistant United States Attorney

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      MOTION TO DISMISS INDICTMENT; ORDER               1
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          Case 1:18-cr-00075-JLT-BAM Document 85 Filed 10/29/19 Page 2 of 2

 1                                             ORDER

 2        The Indictment is dismissed as to defendant TAYLOR.

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 4 IT IS SO ORDERED.

 5
      Dated:     October 28, 2019                     /s/ Lawrence J. O’Neill _____
 6                                          UNITED STATES CHIEF DISTRICT JUDGE

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     MOTION TO DISMISS INDICTMENT; ORDER          2
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